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                   JOINT REQUEST TO CONDUCT CASE MANAGEMENT CONFERENCE REMOTELY
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
              Case 3:20-cv-05671-JD Document 187 Filed 10/14/21 Page 2 of 8


 1                                 UNITED STATES DISTRICT COURT

 2                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                        SAN FRANCISCO DIVISION
 4

 5
     IN RE GOOGLE PLAY STORE
 6   ANTITRUST LITIGATION                                     Case No. 3:21-md-02981-JD

 7   THIS DOCUMENT RELATES TO:                                JOINT REQUEST TO CONDUCT CASE
 8                                                            MANAGEMENT CONFERENCE
     Epic Games Inc. v. Google LLC et al., Case               REMOTELY
 9   No. 3:20-cv-05671-JD
                                                              Date: October 21, 2021
10   In re Google Play Consumer Antitrust                     Time: 10:00 a.m.
     Litigation, Case No. 3:20-cv-05761-JD                    Courtroom: 11, 19th Floor
11                                                            Judge: Hon. James Donato
12   In re Google Play Developer Antitrust
     Litigation, Case No. 3:20-cv-05792-JD
13
     State of Utah et al. v. Google LLC et al., Case
14   No. 3:21-cv-05227-JD
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               Case 3:20-cv-05671-JD Document 187 Filed 10/14/21 Page 3 of 8




 1          The parties in the above-captioned matters (the “Parties”) respectfully request that the

 2   upcoming October 21, 2021 Case Management Conference in this MDL case be conducted

 3   remotely for the reasons stated below. While the general Scheduling Notes available online state

 4   that, effective July 12, 2021, all Parties are to assume that all proceedings will be held in person,

 5   the Parties are cognizant that the Court previously indicated that the monthly conferences for this

 6   MDL case would likely continue to be held remotely even after other matters return to being held

 7   in person. (Tr. (12/3/2020) 7:9-8:9.) In light of the current environment and the rise in COVID

 8   cases, combined with the travel required for counsel for many of the Parties to attend in person,
 9   as well as to allow the Parties and non-participating counsel to view the proceedings, the Parties
10   respectfully request that the upcoming October 21, 2021 Case Management Conference be held
11   remotely by Zoom webinar.
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             Case 3:20-cv-05671-JD Document 187 Filed 10/14/21 Page 4 of 8




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12                                                              Counsel for Plaintiff Epic Games, Inc.
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          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
             Case 3:20-cv-05671-JD Document 187 Filed 10/14/21 Page 5 of 8




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                 JOINT REQUEST TO CONDUCT CASE MANAGEMENT CONFERENCE REMOTELY
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             Case 3:20-cv-05671-JD Document 187 Filed 10/14/21 Page 6 of 8




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                 JOINT REQUEST TO CONDUCT CASE MANAGEMENT CONFERENCE REMOTELY
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             Case 3:20-cv-05671-JD Document 187 Filed 10/14/21 Page 7 of 8




 1   Dated: October 14, 2021                          O’MELVENY & MYERS LLP
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               Case 3:20-cv-05671-JD Document 187 Filed 10/14/21 Page 8 of 8



                                           E-FILING ATTESTATION
 1
                    I, Yonatan Even, am the ECF User whose ID and password are being used to file
 2
     this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 3
     signatories identified above has concurred in this filing.
 4
                                                                       /s/ Yonatan Even
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